         Case 1:21-mj-00382-REB Document 12 Filed 01/15/21 Page 1 of 3




Charles Peterson
FEDERAL PUBLIC DEFENDER
FEDERAL DEFENDER SERVICES OF IDAHO
702 W. Idaho, Ste. 1000
Boise, Idaho 83702
Telephone: (208) 331-5500
Facsimile: (208) 331-5525

Attorneys for Defendant
JOSIAH COLT


                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF IDAHO
                        (HONORABLE RONALD E. BUSH)


UNITED STATES OF AMERICA, )                     1:21-mj-00382-REB
                          )
         Plaintiff,       )                     NOTICE OF APPEARANCE AND
                          )                     ASSIGNMENT OF COUNSEL
     vs.                  )
                          )
JOSIAH COLT               )
                          )
         Defendant.       )
                          )


TO:    CLERK OF THE COURT, UNITED STATES DISTRICT COURT
       BART M. DAVIS, UNITED STATES ATTORNEY
       HEATHER PATRICCO, ASSISTANT UNITED STATES ATTORNEY


       PLEASE TAKE NOTICE that Charles Peterson of the Federal

Defender Services of Idaho, is hereby assigned this matter and therefore

makes an appearance in the above action on behalf of the defendant, JOSIAH




 Notice of Appearance and Assignment of   -1-
 Counsel
         Case 1:21-mj-00382-REB Document 12 Filed 01/15/21 Page 2 of 3




COLT, and requests that all further papers and pleadings herein except

original process be served upon said undersigned attorney.

Dated: January 15, 2021                   CHARLES PETERSON
                                          FEDERAL PUBLIC DEFENDER
                                          By:



                                          /s/ Charles Peterson
                                          Charles Peterson
                                          Federal Defender Services of Idaho
                                          Attorneys for Defendant
                                          JOSIAH COLT




 Notice of Appearance and Assignment of    -2-
 Counsel
         Case 1:21-mj-00382-REB Document 12 Filed 01/15/21 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I CERTIFY that I am an employee of the Federal Defender Services of

Idaho, and that a copy of the foregoing document was served on all parties

named below on this 15th day of January 2021.


Heather Patricco, Assistant United States Attorney
Office of the United States Attorney           ____United States Mail
1290 West Myrtle Street, Suite 500             ____Hand Delivery
Boise, ID 83702                                ____Facsimile Transmission
(208) 334-1211                                 __X__CM/ECF Filing
(208) 334-1413 – Facsimile                     ____Email Transmission

Heather.Patricco@usdoj.gov


Dated: January 15, 2021                   /s/ Sybil Davis
                                          Sybil Davis




 Notice of Appearance and Assignment of    -3-
 Counsel
